Case 1:24-cv-24228-CMA Document 74 Entered on FLSD Docket 05/27/2025 Page 1 of 8




                                UNITED STA TES DISTRICT CO URT
                                SO UTH ERN DISTR ICT O F FLOR IDA
                                 CaseN o.24-24228-CIV -A LTONA GA

   M EGAN PETE,an individual                                           FILED BY                 D.C.
          Plaint?
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                                                                              ANGELA E.NO6LE

   M ILA GRO ELIZA BETH CO OPER,
                                                                             CLERKU S DISI CQ
                                                                             s.o.oFFuk.-MI
                                                                                         AM,      .    $
   an individual,

          Defendant.

               O PPO SED M O TION TO W ITH DM W AS PR O H A C VICE C OU NSEL
          BY ATTORNEY M ICHAEL HAYDEN ESQ.(UNITE TITE PEOPLE,INC.)
                       FOR D EFENDA NT,M ILA GR O ELIZABETH CO O PER

          pursuanttosouthem DistrictofFloridaLocalRule11.1(d)(3),andRule4-1.16(b)ofthe
          ,




    RulesRegulatingtheFloridaBar,MichaelR.Hayden,Esq.CtundersignedCotmsel''lonbehalf
    ofU nite thePeople,lnc.files aM otion to W ithdraw asPro H ac Vice CounselofRecord for

    DefendantMILAGRO ELIZABETH COOPER (<r efendanfh
                                                  ),andinsupportstatesthe
    following:

                                    PRELIM INAR Y STATEM EN T

              1. UnitethePeople lnc.wasretained asPro Bono counselby D efendantin the above

                 referenced m atterto draftand send Cease &'D esistletters on behalfofDefendant.

                 UnitethePeople isunableto sectlreand retain localFlorida counselforthism atter

                 due to financialreasonsfrom both U nite thePeoplelnc.and from D efendant.

                 Dueto financialreasonswhich have arisen by the Defendantand UnitethePeople

                 Inc.,U nite the People lnc.seeksto w ithdraw from representation ofD efendantas Pro

                 H ac Vice counselin thism atter.
Case 1:24-cv-24228-CMA Document 74 Entered on FLSD Docket 05/27/2025 Page 2 of 8




                                 '
                                            k
                                 SpecificBasis for W ithdrawal

         4. Financialdifticultieshave arisen w ith Unite thePeopleInc.and D efendant,m aking it

            unreasonably difficultforUnite the People lnc.to continue to effectively represent

            DefendantasPro H ac Vicecounselin thism atter,unable to secure localFlorida

            counsel.

         5. DefendantisunabletocomjensateUnitethePeoplelnc.UnitethePeopleInc.isa
            non-protitincorporation/tirm thatspecializesin crim inaland post-conviction m atters,
                  ze


            having no dedicated civillitigation departm ent.U nite the People currently hastw o

            licensed attorneys,whO specialize in crim inallaw,who handle large caseloads.

            W ithoutlocalFlolida counselto actaslead counsel,U nite the People cannotcontinue

            to representDefendantfrom California oritw ould sufferextrem e financialburden

            (Likelyruin)andwouldprejudicecun-entclientrepresentation,whichisnon-profit,
            heavily discounted services.

                              Conferralwith Counselfor Plaintiff

            On M ay 19,2025,Undersigned Counselnotified counselforPlaintiffvia em ailofhis

            intention to w ithdraw asPro H ac Vice Counselform thism atter,forreasons

            previously disclosed underseal. CounjelforPlaintiffis opposed to the M otion to

            W ithdraw by Unite the People lnc. How ever,Unite the People lnc.w illnotbe able

            tocarly outeventsoccuninginCalifornia(Depositions,etc.)withoutbeingableto
            secure localFloridaCounsel.

            Ifthem otion forwithdrawalofUnite the People Inc.asD efendantsPro H ac Vice

            counselis granted,aproposed orderw illbe lubm itled to the Courtunderseparate

            COVer.




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Case 1:24-cv-24228-CMA Document 74 Entered on FLSD Docket 05/27/2025 Page 3 of 8




                                     M EM OR AND UM OF LAW

           PursuanttoRule4-1.16Y)oftheRulesRegulatingtheFloridaBar,alawyermay
   withdraw from representingclientif:&t(1)withdrawalcanbeaccomplishedwithoutmaterial
   adverseeffectoftheinterestoftheclient;(2)theclientinsistsupontalcingactionthatthelawyer
   considersrepugnant,impmdent,orwithwhichthelawyerhasafundamentaldisagreement;(3)
   the clientfailssubstantially to fulfillan obligation to the lawyerregarding thelawyer'sserdces

   andhasbeen givenreasonablewafning thatthelawyerwillwithdraw unlesstheobligation is

   fulfilled;(4)therepresentation willresultin an unreasonablefnancialbvrden onthelawyer
   orhasbeenrenderedunreasonablydifficultbytheclient;or(5)othergoodcauseforwithdrawal
   exists.''

           Given thefinancialburdensthathave arisen between Unitethe People and Defendant,

   plusthe inability to secure and pay localFlorida counsel,suftk ientgood cause existsto pennit

   the withdraw alofUnite the People lnc.asPro H ac Vice counselofrecord forD efendant.

    Specifically,Defendantand U nite the People lnc.have no m eansto com pensate localFlorida

   counsel. Thism akesitan unreasonableburden forUnite thePeopleInc.to continue to represent

   D efendant.

           Based on the foregoing,undersigned counselrespectfully requeststhatthe Courtgrant

    theinsta'ntM otion in itsentirety, entering an order:

           (1)GrantingtheM otioninitsentiretyandauthorizingM ichaelR.Hayden,Esquireof
               UnitethePeople Inc.,to w ithdraw asPro H ac Vice counselofrecord forD efendant

               M ILAG RO ELIZABETH COOPER,relieving said counseland U nite the Peoplelnc.

               ofany and al1further obligations on behalfofD efendantin this action;




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Case 1:24-cv-24228-CMA Document 74 Entered on FLSD Docket 05/27/2025 Page 4 of 8




          (2)ProvidingDefendant,MILAGRO ELIZABETH COOPER withatimeperioddeemed
              sufficientby thisCourtto retain successorlocalcounselin Florida orto appearPro

              Se;and

           (3)Directingal1interim pleadings,motions,discovery,andanyandallother
              com m unicaticmsconcezning thism atterto continue to be sentto M ilagro Elizabeth

              Cooper,Pro Se,15500 Cutton Rd Apt4801,H ouston Tx 77070-4077

      CER TIFICA TE O F CO UNFEQR AL PUR SUAN T TO SO UR TH ERN DISTRICT OF
                                 FLORIDA LOCAL RULE 7.1(3)
           PursuanttoSouthernDistrictofFloridaRule7.143)IHEREBY CERTIFY thatagood
    faith effortto resolvetheissuesby agreem entoccurred although Plaintiff'scounselhasindicated

    thatPlaintiffopposesthe reliefsou'
                                     ghtherein.

                                                                    Is/M ichaelR.H ayden,Esq.

                                  CER TIFICA TE O F SER VICE

           1hereby certify thaton M ay 22,2025,1m ailed the foregoing docum entto the Clerk of

    the Courtby expresj-m ail,since itcannotbee-filed by outofstate cotm sel,withputlocal

    counsel. 1also certify thatthe foregoing isbeing served thisday on allcounselofrecord in the

    m alm erspecified,via em ail,sinceitcannotbe e-tiled by outofstate counsel.


                                                  By:/s/M ichaelR.H ayden
                                                     M ichaelR .H ayden
                                                     CaliforniaBarNo.343302
                                                     Appearing Pro H acV ice

    ServiceList:
    JudgeAltonaga(viaemail)
    ClerkoftheCourt(viaexpressmail)
    Al1counselofRecord(viaemail)
    M ilagroElizabethCooper(viaemail)



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Case 1:24-cv-24228-CMA Document 74 Entered on FLSD Docket 05/27/2025 Page 5 of 8




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                              CaseN o.24-24228-CIV -A LTONA GA

   M EG AN PETE,an individual

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   V.

   M ILA GRO ELIZABETH COO PER,
   an individual,

         Defendant.
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          THIS CAUSE cam ebeforetheCourtupon Defendant'sPro HacVicecounsel,M ichaelR.

   Hayden,ofUnitethePeople Inc.'sOpposed M otion to W ithdraw asLocalCounselforDefendant,

   MilagroElizabethCooper,filedviaexpressmail(ProHacVice).Beingfullyadvised,itis
          ORDERED AND ADJUD GED thattheM otion isGRANTED asfollows:

              ByM ay 23,2025,withdrawing counselshallsend toPlaintiff'scounsplacopy ofthisOrder

             and shallfile anoticewith theCoul'tcertifying sam e.
          2. Defendant'sPro HacVicecounsel,M ichaelR.Hayden,EsquireofUnitethePeople,lnc,is

             relieved offurtherresponsibility inthiscase.
          3. Defendant,M ilagro Elizabeth Cooper,inpro se,willhaveareasonableextension oftim eif
             shewishesto retain localcounseland n'ew localcounselshalltile anoticeofappearance.

          D O NE AN D OR D ER ED in M iam i,Florida,this     day ofM ay 2025.



                                                CECILIA M .ALTONAGA
                                                CHIEF UNITED STATES DISTRICT JUDGE

          counselofrecord
                   Case 1:24-cv-24228-CMA Document 74 Entered on FLSD Docket 05/27/2025 Page 6 of 8



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